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                                  IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION

   VANESSA BISSERETH                                       §
                                                           §
                           Plaintiff                       §    CAUSE NO. 1:25-cv-97
                                                           §
   v.                                                      §
                                                           §
   BANK OF AMERICA, N.A. AND                               §
   JAVITCH BLOCK, LLC                                      §
                                                           §
                         Defendants                        §
                                                           §

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